                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA


RALEIGH WAKE CITIZENS ASSOCIATION,        )
et al.                                    )
                                          )
                  Plaintiffs,             )
                                          )                               No. 5:15-cv-156
            v.                            )
                                          )
WAKE COUNTY BOARD OF ELECTIONS,           )
                                          )
                  Defendant.              )
                                          )
                                          )
CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                               No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)


   [PROPOSED] ORDER ON JOINT MOTION TO MODIFY BRIEFING SCHEDULE


        Upon this Court’s thorough review of the Joint Motion to Modify Briefing Schedule, and after

full consideration of all matters brought before the Court regarding the Motion, for good cause shown it is

hereby ordered that:

        1.       The Motion is GRANTED.

        2.       The schedule for the parties to submit response and reply briefs regarding the Bill

of Costs and Motion for Attorney Fees, Expert Fees, and Litigation Expenses is MODIFIED, as

follows:




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      a.       On or before December 21, 2016, Defendant will respond to the Fees Motion and

      Costs Motion.

      b.       On or before January 11, 2016, Plaintiffs will reply to Defendant’s response.



      It is so ordered.



__________________________________                  ___________________________________
Date                                                The Hon. James C. Dever III
                                                    United States District Judge




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